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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA

Julie Dalton, individually and on behalf       Civil Case No.: 23-cv-3742 (ECT/DJF)
of all others similarly situated,

             Plaintiffs,
                                                          NOTICE OF DISMISSAL
      v.

Christopher and Banks Corporation d/b/a
Christopher & Banks,

             Defendant.

       Plaintiff, Julie Dalton by her undersigned counsel, hereby dismisses the above-

entitled action, without prejudice, pursuant to Federal Rules of Civil Procedure 41.01(a),

without costs or disbursements to any party.


                                           THRONDSET MICHENFELDER, LLC

Dated: February 14, 2024                   By: /s/Patrick W. Michenfelder
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